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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 PEDRO MARTINEZ, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 20-cv-2437
                                          Plaintiff,

                          - against -

 BOOMER HOLDINGS INC.,

                                            Defendants.
 -----------------------------------------------------------X


                                   COMPLAINT – CLASS ACTION

                                             INTRODUCTION

                 1. Plaintiff, Pedro Martinez (“Plaintiff” or “Martinez”), brings this action on behalf

of himself and all other persons similarly situated against Boomer Holdings Inc. (hereinafter

“Boomer” or “Defendant”), and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using his computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision; others have no vision.

                 3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

in the United States are visually impaired, including 2.0 million who are blind, and according to
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the American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.

               4. Plaintiff brings this civil rights action against Boomer for their failure to design,

construct, maintain, and operate their website to be fully accessible to and independently usable

by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and visually-

impaired persons throughout the United States with equal access to the goods and services Boomer

provides to their non-disabled customers through http//:www.Boomernaturals.com (hereinafter

“Boomernaturals.com” or “the website”). Defendant’s denial of full and equal access to its

website, and therefore denial of its products and services offered, and in conjunction with its

physical locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the

“ADA”).

               5. Boomernaturals.com provides to the public a wide array of the goods, services,

price specials, employment opportunities and other programs offered by Boomer.                    Yet,

Boomernaturals.com contains thousands of access barriers that make it difficult if not impossible

for blind and visually-impaired customers to use the website. In fact, the access barriers make it

impossible for blind and visually-impaired users to even complete a transaction on the website.

Thus, Boomer excludes the blind and visually-impaired from the full and equal participation in the

growing Internet economy that is increasingly a fundamental part of the common marketplace and

daily living. In the wave of technological advances in recent years, assistive computer technology

is becoming an increasingly prominent part of everyday life, allowing blind and visually-impaired

persons to fully and independently access a variety of services.

               6. The blind have an even greater need than the sighted to shop and conduct

transactions online due to the challenges faced in mobility. The lack of an accessible website



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means that blind people are excluded from experiencing transacting with defendant’s website and

from purchasing goods or services from defendant’s website.

               7. Despite readily available accessible technology, such as the technology in use at

other heavily trafficked retail websites, which makes use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendant has chosen

to rely on an exclusively visual interface. Boomer’s sighted customers can independently browse,

select, and buy online without the assistance of others. However, blind persons must rely on

sighted companions to assist them in accessing and purchasing on Boomernaturals.com.

               8. By failing to make the website accessible to blind persons, Defendant is violating

basic equal access requirements under both state and federal law.

               9. Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the ADA. Such discrimination

includes barriers to full integration, independent living, and equal opportunity for persons with

disabilities, including those barriers created by websites and other public accommodations that are

inaccessible to blind and visually impaired persons. Similarly, New York state law requires places

of public accommodation to ensure access to goods, services, and facilities by making reasonable

accommodations for persons with disabilities.

               10. Governor Andrew Cuomo issued an executive order requiring people to wear

face covering in public. Plaintiff browsed and intended to make an online purchase of a face cover

on Boomernaturals.com. However, unless Defendant remedies the numerous access barriers on

its website, Plaintiff and Class members will continue to be unable to independently navigate,

browse, use, and complete a transaction on Boomernaturals.com.

               11. Because Defendant’s website, Boomernaturals.com, is not equally accessible to

blind and visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction
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to cause a change in Boomer’s policies, practices, and procedures to that Defendant’s website will

become and remain accessible to blind and visually-impaired consumers. This complaint also

seeks compensatory damages to compensate Class members for having been subjected to unlawful

discrimination.

                                 JURISDICTION AND VENUE

               12. This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181 et seq., and 28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C. §

1332(d)(1)(B), in which a member of the putative class is a citizen of a different state than

Defendant, and the amount in controversy exceeds the sum or value of $5,000,000, excluding

interest and costs. See 28 U.S.C. § 133(d)(2).

               13. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. §

1367, over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec.

Law, Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

Administrative Code § 8-101 et seq. (“City Law”).

               14. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)-

(c) and 144(a) because Plaintiff resides in this District, Defendant conducts and continues to

conduct a substantial and significant amount of business in this District, and a substantial portion

of the conduct complained of herein occurred in this District.

               15. Defendant is registered to do business in New York State and has been

conducting business in New York State, including in this District. Defendant purposefully targets

and otherwise solicits business from New York State residents through its website and sells its

products through retailers which are available in this District. Because of this targeting, it is not

unusual for Boomer to conduct business with New York State residents. Defendant also has been
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and is committing the acts alleged herein in this District and has been and is violating the rights of

consumers in this District and has been and is causing injury to consumers in this District. A

substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred in this

District. Most courts support the placement of venue in the district in which Plaintiff tried and

failed to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287 (D.

Mass. 2017), Judge Patti B. Saris ruled that “although the website may have been created and

operated outside of the district, the attempts to access the website in Massachusetts are part of the

sequence of events underlying the claim.         Therefore, venue is proper in [the District of

Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm

– the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.

Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

. Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.”

Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing

a customer base in a particular district is sufficient cause for venue placement. Specifically,

Plaintiff attempted to purchase a face cover on Defendant’s website, Boomernaturals.com.

                                             PARTIES

               16. Plaintiff, is and has been at all relevant times a resident of Kings County,

State of New York.

               17. Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the New York State Human Rights Law and the New York City Human Rights Law.

Plaintiff, Pedro Martinez, cannot use a computer without the assistance of screen reader
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software. Plaintiff, Pedro Martinez, has been denied the full enjoyment of the facilities, goods

and services of Boomernaturals.com as a result of accessibility barriers on Boomernaturals.com.

               18. Defendant, Boomer Holdings Inc., is a Nevada Foreign Business Corporation

doing business in this State with its principal place of business located at 8670 West Cheyenne

Avenue, Las Vegas, NV 89129.

               19. Boomer provides to the public a website known as Boomernaturals.com

which provides consumers with access to an array of goods and services, including, the ability to

view the various lines of face covers, hand sanitizers, and CB5 products and make purchases,

amongst other features. Consumers across the United States use Defendant’s website to

purchase face covers, hand sanitizers, and CB5 infused products . Defendant’s website is a place

of public accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898 (E.D.N.Y.

August 1, 2017). The inaccessibility of Boomernaturals.com has deterred Plaintiff from buying a

face cover.

                                    NATURE OF THE CASE

               20. The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons alike.

               21. The blind access websites by using keyboards in conjunction with screen-

reading software which vocalizes visual information on a computer screen. Except for a blind

person whose residual vision is still sufficient to use magnification, screen access software

provides the only method by which a blind person can independently access the Internet. Unless

websites are designed to allow for use in this manner, blind persons are unable to fully access

Internet websites and the information, products and services contained therein.
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               22. For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind user is unable to access the same content available to sighted users.

               23. Blind users of Windows operating system-enabled computers and devises have

several screen-reading software programs available to them. Job Access With Speech, otherwise

known as “JAWS” is currently the most popular, separately purchase and downloaded screen-

reading software program available for blind computer users.

               24. The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web Content

Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.   Many Courts have also established WCAG 2.1 as the standard guideline for

accessibility. The federal government has also promulgated website accessibility standards under

Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so

that a business designing a website can easily access them. These guidelines recommend several

basic components for making websites accessible, including but not limited to: adding invisible

alt-text to graphics, ensuring that all functions can be performed using a keyboard and not just a

mouse, ensuring that image maps are accessible, and adding headings so that blind persons can

easily navigate the site. Without these very basic components, a website will be inaccessible to a

blind person using a screen reader. Websites need to be accessible to the “least sophisticated” user

of screen-reading software and need to be able to work with all browsers. Websites need to be

continually updated and maintained to ensure that they remain fully accessible.

                                  FACTUAL ALLEGATIONS
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                25. Defendant, Boomer Holdings, Inc., controls and operates Boomernaturals.com.

in New York State and throughout the United States.

                26. Boomernaturals.com is a commercial website that offers products and services

for online sale. The online store allows the user to browse face covers, hand sanitizers, CB5

infused products and other related products, make purchases, and perform a variety of other

functions.

                27. Among the features offered by Boomernaturals.com are the following:

                (a) Consumers may use the website to connect with Boomer on social media, using

such sites as Facebook, Twitter, Instagram, and Pinterest;

                (b) an online store, allowing customers to purchase face covers, hand sanitizers,

and CB5 infused productxs; and

                (c) learning about the products and their benefits, read customer testimonials,

learning about shipping and return policies, and about the company, amongst other features.

                28. This case arises out of Boomer’s policy and practice of denying the blind access

to the goods and services offered by Boomernaturals.com. Due to Boomer’s failure and refusal to

remove access barriers to Boomernaturals.com, blind individuals have been and are being denied

equal access to Boomer, as well as to the numerous goods, services and benefits offered to the

public through Boomernaturals.com.

                29. Boomer denies the blind access to goods, services and information made

available    through   Boomernaturals.com     by       preventing   them   from   freely   navigating

Boomernaturals.com.

                30. Boomernaturals.com contains access barriers that prevent free and full use by

Plaintiff and blind persons using keyboards and screen-reading software. These barriers are

pervasive and include, but are not limited to: lack of alt-text on graphics, inaccessible drop-down
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menus, the lack of navigation links, the lack of adequate prompting and labeling, the denial of

keyboard access, empty links that contain no text, redundant links where adjacent links go to the

same URL address, and the requirement that transactions be performed solely with a mouse.

               31. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical

image on a website. Web accessibility requires that alt-text be coded with each picture so that a

screen-reader can speak the alternative text while sighted users see the picture. Alt-text does not

change the visual presentation except that it appears as a text pop-up when the mouse moves over

the picture. There are many important pictures on Boomernaturals.com that lack a text equivalent.

The lack of alt-text on these graphics prevents screen readers from accurately vocalizing a

description of the graphics (screen-readers detect and vocalize alt-text to provide a description of

the image to a blind computer user). As a result, Plaintiff and blind Boomernaturals.com customers

are unable to determine what is on the website, browse the website or investigate and/or make

purchases.

               32. Boomernaturals.com also lacks prompting information and accommodations

necessary to allow blind shoppers who use screen-readers to locate and accurately fill-out online

forms. On a shopping site such as Boomernaturals.com, these forms include search fields to

locate face covers products, fields to select size, and fields used to fill-out personal information,

including address and credit card information. Due to lack of adequate labeling, Plaintiff and

blind customers cannot make purchases or inquiries as to Defendant’s merchandise, nor can they

enter their personal identification and financial information with confidence and security.

               33. Similarly, on Boomernaturals.com, blind customers are not aware if the

desired products, such as face covers, have been added to the shopping cart because the screen-

reader does not indicate the type of product. Therefore, blind customers are essentially

prevented from purchasing any items on Boomernaturals.com.
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                34. Specifically, Plaintiff and the class of users of screen-reading software,

 experienced the following problems on the Website:

                                                 Summary

 There is no way that Plaintiff or any other blind person can make a purchase because of all of
 the issues on this website. For example, The “Shop Now” button is not labeled on the
 homepage banner. If it is somehow pressed, an unannounced chat window opens up.
 Many items are unlabeled, and focus jumps randomly around the page which causes the
 website to become unpredictable. Plaintiff attempted to follow a product link and suddenly was
 taken back to the top of the webpage for no reason and must navigate back to where he was
 just to have a similar issue happen again.
                                                 Home page

       Focus randomly skips around the page which makes shopping very confusing. The first
        announcement on the page was a CB5 button then the email and password fields. This
        was followed by a section to create an account and then the Shop menu item was
        announced. The CB5 button was announced again and then the Shop button was
        announced again
       The two pencil banners at the top of the page are not announced
       The first image on the homepage banner carousel is announced but the controls to
        advance to other slides were not announced
        Below this carousel is the main part of the homepage and announcements were
        sporadic. Many of the elements were not announced or announced as “blank”
       10% off pop-up was not announced and consequently, Plaintiff cannot take advantage
        of this offer.
                                                  Shopping

       Plaintiff was able to follow the Shop link to the “All” page but none of the content is
        announced.
 Therefore, Plaintiff and other blind customers are essentially prevented from purchasing any

 items on boomernaturals.com.

                35. Furthermore, Boomernaturals.com lacks accessible image maps. An image

 map is a function that combines multiple words and links into one single image. Visual details

 on this single image highlight different “hot spots” which, when clicked on, allow the user to

 jump to many different destinations within the website. For an image map to be accessible, it

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 must contain alt-text for the various “hot spots.” The image maps on Boomernaturals.com’s

 menu page do not contain adequate alt-text and are therefore inaccessible to Plaintiff and the

 other blind individuals attempting to make a purchase. When Plaintiff tried to access the menu

 link in order to make a purchase, he was unable to access it completely.

                36. Furthermore, Plaintiff is unable to locate the shopping cart because the

 shopping cart form does not specify the purpose of the shopping cart. As a result, blind

 customers are denied access to the shopping cart. Consequently, blind customers are

 unsuccessful in adding products into their shopping carts and cannot checkout and are essentially

 prevented from purchasing items on Boomernaturals.com.

                37. Moreover, the lack of navigation links on Defendant’s website makes

 attempting to navigate through Boomernaturals.com even more time consuming and confusing

 for Plaintiff and blind consumers.

                38. Boomernaturals.com requires the use of a mouse to complete a transaction.

 Yet, it is a fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff

 and blind people, it must be possible for the user to interact with the page using only the

 keyboard. Indeed, Plaintiff and blind users cannot use a mouse because manipulating the mouse

 is a visual activity of moving the mouse pointer from one visual spot on the page to another.

 Thus, Boomernaturals.com’s inaccessible design, which requires the use of a mouse to complete

 a transaction, denies Plaintiff and blind customers the ability to independently navigate and/or

 make purchases on Boomernaturals.com.

                39. Due to Boomernaturals.com’s inaccessibility, Plaintiff and blind customers

 must in turn spend time, energy, and/or money to make their purchases at traditional brick-and-

 mortar retailers. Some blind customers may require a driver to get to the stores or require

 assistance in navigating the stores. By contrast, if Boomernaturals.com was accessible, a blind
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 person could independently investigate products and make purchases via the Internet as sighted

 individuals can and do. According to WCAG 2.1 Guideline 2.4.1, a mechanism is necessary to

 bypass blocks of content that are repeated on multiple webpages because requiring users to

 extensively tab before reaching the main content is an unacceptable barrier to accessing the

 website. Plaintiff must tab through every navigation bar option and footer on Defendant’s

 website in an attempt to reach the desired service. Thus, Boomernaturals.com’s inaccessible

 design, which requires the use of a mouse to complete a transaction, denies Plaintiff and blind

 customers the ability to independently make purchases on Boomernaturals.com.

                40. Boomernaturals.com thus contains access barriers which deny the full and

 equal access to Plaintiff, who would otherwise use Boomernaturals.com and who would

 otherwise be able to fully and equally enjoy the benefits and services of Boomernaturals.com in

 New York State and throughout the United States.

                41. Plaintiff, Pedro Martinez, has made numerous attempts to complete a purchase

 on Boomernaturals.com, most recently on May 27, 2020, but was unable to do so independently

 because of the many access barriers on Defendant’s website. These access barriers have caused

 Boomernaturals.com to be inaccessible to, and not independently usable by, blind and visually-

 impaired persons. Amongst other access barriers experienced, Plaintiff was unable to purchase a

 face cover.

                42. As described above, Plaintiff has actual knowledge of the fact that

 Defendant’s website, Boomernaturals.com, contains access barriers causing the website to be

 inaccessible, and not independently usable by, blind and visually-impaired persons.

                43. These barriers to access have denied Plaintiff full and equal access to, and

 enjoyment of, the goods, benefits and services of Boomernaturals.com.



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                44. Defendant engaged in acts of intentional discrimination, including but not

 limited to the following policies or practices:

                (a) constructed and maintained a website that is inaccessible to blind class

 members with knowledge of the discrimination; and/or

                (b) constructed and maintained a website that is sufficiently intuitive and/or

 obvious that is inaccessible to blind class members; and/or

                (c) failed to take actions to correct these access barriers in the face of substantial

 harm and discrimination to blind class members.

                45. Defendant utilizes standards, criteria or methods of administration that have

 the effect of discriminating or perpetuating the discrimination of others.

                46. Because of Defendant’s denial of full and equal access to, and enjoyment of,

 the goods, benefits and services of Boomernaturals.com, Plaintiff and the class have suffered an

 injury-in-fact which is concrete and particularized and actual and is a direct result of defendant’s

 conduct.

                                CLASS ACTION ALLEGATIONS

                47. Plaintiff, on behalf of himself and all others similarly situated, seeks

 certification of the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal

 Rules of Civil Procedure: “all legally blind individuals in the United States who have attempted

 to access Boomernaturals.com and as a result have been denied access to the enjoyment of goods

 and services offered by Boomernaturals.com, during the relevant statutory period.”

                48. Plaintiff seeks certification of the following New York subclass pursuant to

 Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New

 York State who have attempted to access Boomernaturals.com and as a result have been denied



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 access to the enjoyment of goods and services offered by Boomernaturals.com, during the

 relevant statutory period.”

                49. There are hundreds of thousands of visually-impaired persons in New York

 State. There are approximately 8.1 million people in the United States who are visually-

 impaired. Id. Thus, the persons in the class are so numerous that joinder of all such persons is

 impractical and the disposition of their claims in a class action is a benefit to the parties and to

 the Court.

                50. This case arises out of Defendant’s policy and practice of maintaining an

 inaccessible website denying blind persons access to the goods and services of

 Boomernaturals.com. Due to Defendant’s policy and practice of failing to remove access

 barriers, blind persons have been and are being denied full and equal access to independently

 browse, select and shop on Boomernaturals.com.

                51. There are common questions of law and fact common to the class, including

 without limitation, the following:

                (a) Whether Boomernaturals.com is a “public accommodation” under the ADA;

                (b) Whether Boomernaturals.com is a “place or provider of public

 accommodation” under the laws of New York;

                (c) Whether Defendant, through its website, Boomernaturals.com, denies the full

 and equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations

 to people with visual disabilities in violation of the ADA; and

                (d) Whether Defendant, through its website, Boomernaturals.com, denies the full

 and equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations

 to people with visual disabilities in violation of the law of New York.



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                  52. The claims of the named Plaintiff are typical of those of the class. The class,

 similar to the Plaintiff, is severely visually-impaired or otherwise blind, and claims Boomer has

 violated the ADA, and/or the laws of New York by failing to update or remove access barriers on

 their website, Boomernaturals.com, so it can be independently accessible to the class of people

 who are legally blind.

                  53. Plaintiff will fairly and adequately represent and protect the interests of the

 members of the Class because Plaintiff has retained and is represented by counsel competent and

 experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

 to the members of the class. Class certification of the claims is appropriate pursuant to Fed. R.

 Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to

 the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and

 the Class as a whole.

                  54. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

 because questions of law and fact common to Class members clearly predominate over questions

 affecting only individual class members, and because a class action is superior to other available

 methods for the fair and efficient adjudication of this litigation.

                  55. Judicial economy will be served by maintenance of this lawsuit as a class

 action in that it is likely to avoid the burden that would be otherwise placed upon the judicial

 system by the filing of numerous similar suits by people with visual disabilities throughout the

 United States.

                  56. References to Plaintiff shall be deemed to include the named Plaintiff and

 each member of the class, unless otherwise indicated.

                                 FIRST CAUSE OF ACTION
    (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

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                57. Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 56 of this Complaint as though set forth at length herein.

                58. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a)

 provides that “No individual shall be discriminated against on the basis of disability in the full

 and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

 of any place of public accommodation by any person who owns, leases (or leases to), or operates

 a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

 criteria or methods of administration that have the effect of discriminating on the basis of

 disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

                59. Boomernaturals.com is a sales establishment and public accommodation

 within the definition of 42 U.S.C. §§ 12181(7).

                60. Defendant is subject to Title III of the ADA because it owns and operates

 Boomernaturals.com.

                61. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

 discrimination to deny individuals with disabilities or a class of individuals with disabilities the

 opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

 or accommodations of an entity.

                62. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

 discrimination to deny individuals with disabilities or a class of individuals with disabilities an

 opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

 or accommodation, which is equal to the opportunities afforded to other individuals.

                63. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

 unlawful discrimination includes, among other things, “a failure to make reasonable

 modifications in policies, practices, or procedures, when such modifications are necessary to
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 afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

 with disabilities, unless the entity can demonstrate that making such modifications would

 fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

 accommodations.”

                64. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III),

 unlawful discrimination also includes, among other things, “a failure to take such steps as may

 be necessary to ensure that no individual with disability is excluded, denied services, segregated

 or otherwise treated differently than other individuals because of the absence of auxiliary aids

 and services, unless the entity can demonstrate that taking such steps would fundamentally alter

 the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

 would result in an undue burden.”

                65. There are readily available, well-established guidelines on the Internet for

 making websites accessible to the blind and visually-impaired. These guidelines have been

 followed by other business entities in making their websites accessible, including but not limited

 to ensuring adequate prompting and accessible alt-text. Incorporating the basic components to

 make their website accessible would neither fundamentally alter the nature of Defendant’s

 business nor result in an undue burden to Defendant.

                66. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C.

 § 12101 et seq., and the regulations promulgated thereunder. Patrons of Boomer who are blind

 have been denied full and equal access to Boomernaturals.com, have not been provided services

 that are provided to other patrons who are not disabled, and/or have been provided services that

 are inferior to the services provided to non-disabled patrons.

                67. Defendant has failed to take any prompt and equitable steps to remedy its

 discriminatory conduct. These violations are ongoing.
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                68. As such, Defendant discriminates, and will continue in the future to

 discriminate against Plaintiff and members of the proposed class and subclass on the basis of

 disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

 accommodations and/or opportunities of Boomernaturals.com in violation of Title III of the

 Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.

                69. Unless the Court enjoins Defendant from continuing to engage in these

 unlawful practices, Plaintiff and members of the proposed class and subclass will continue to

 suffer irreparable harm.

                70. The actions of Defendant were and are in violation of the ADA, and therefore

 Plaintiff invokes his statutory right to injunctive relief to remedy the discrimination.

                71. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

                72. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

 forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                SECOND CAUSE OF ACTION
                (Violation of New York State Human Rights Law, N.Y. Exec. Law
                             Article 15 (Executive Law § 292 et seq.))

                73. Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 72 of this Complaint as though set forth at length herein.

                74. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

 practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent, or

 employee of any place of public accommodation . . . because of the . . . disability of any person,

 directly or indirectly, to refuse, withhold from or deny to such person any of the

 accommodations, advantages, facilities or privileges thereof.”.

                75. Boomernaturals.com is a sales establishment and public accommodation

 within the definition of N.Y. Exec. Law § 292(9).
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                76. Defendant is subject to the New York Human Rights Law because it owns and

 operates Boomernaturals.com. Defendant is a person within the meaning of N.Y. Exec. Law. §

 292(1).

                77. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

 remove access barriers to Boomernaturals.com, causing Boomernaturals.com to be completely

 inaccessible to the blind. This inaccessibility denies blind patrons the full and equal access to the

 facilities, goods and services that Defendant makes available to the non-disabled public.

                78. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice

 includes, among other things, “a refusal to make reasonable modifications in policies, practices,

 or procedures, when such modifications are necessary to afford facilities, privileges, advantages

 or accommodations to individuals with disabilities, unless such person can demonstrate that

 making such modifications would fundamentally alter the nature of such facilities, privileges,

 advantages or accommodations.”

                79. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

 practice also includes, “a refusal to take such steps as may be necessary to ensure that no

 individual with a disability is excluded or denied services because of the absence of auxiliary

 aids and services, unless such person can demonstrate that taking such steps would

 fundamentally alter the nature of the facility, privilege, advantage or accommodation being

 offered or would result in an undue burden.”

                80. There are readily available, well-established guidelines on the Internet for

 making websites accessible to the blind and visually-impaired. These guidelines have been

 followed by other business entities in making their website accessible, including but not limited

 to: adding alt-text to graphics and ensuring that all functions can be performed by using a

 keyboard. Incorporating the basic components to make their website accessible would neither
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 fundamentally alter the nature of Defendant’s business nor result in an undue burden to

 Defendant.

                81. Defendant’s actions constitute willful intentional discrimination against the

 class on the basis of a disability in violation of the New York State Human Rights Law, N.Y.

 Exec. Law § 296(2) in that Defendant has:

                (a) constructed and maintained a website that is inaccessible to blind class

 members with knowledge of the discrimination; and/or

                (b) constructed and maintained a website that is sufficiently intuitive and/or

 obvious that is inaccessible to blind class members; and/or

                (c) failed to take actions to correct these access barriers in the face of substantial

 harm and discrimination to blind class members.

                82. Defendant has failed to take any prompt and equitable steps to remedy their

 discriminatory conduct. These violations are ongoing.

                83. As such, Defendant discriminates, and will continue in the future to

 discriminate against Plaintiff and members of the proposed class and subclass on the basis of

 disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

 accommodations and/or opportunities of Boomernaturals.com under N.Y. Exec. Law § 296(2) et

 seq. and/or its implementing regulations. Unless the Court enjoins Defendant from continuing to

 engage in these unlawful practices, Plaintiff and members of the class will continue to suffer

 irreparable harm.

                84. The actions of Defendant were and are in violation of the New York State

 Human Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

 discrimination.



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                85. Plaintiff is also entitled to compensatory damages, as well as civil penalties

 and fines pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

                86. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

                87. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

 forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                  THIRD CAUSE OF ACTION
                  (Violation of New York State Civil Rights Law, NY CLS Civ R,
                                 Article 4 (CLS Civ R § 40 et seq.))

                88. Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 87 of this Complaint as though set forth at length herein.

                89. Plaintiff served notice thereof upon the attorney general as required by N.Y.

 Civil Rights Law § 41.

                90. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction

 of this state shall be entitled to the full and equal accommodations, advantages, facilities, and

 privileges of any places of public accommodations, resort or amusement, subject only to the

 conditions and limitations established by law and applicable alike to all persons. No persons,

 being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any such

 place shall directly or indirectly refuse, withhold from, or deny to any person any of the

 accommodations, advantages, facilities and privileges thereof . . .”

                91. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

 disability, as such term is defined in section two hundred ninety-two of executive law, be

 subjected to any discrimination in his or her civil rights, or to any harassment, as defined in

 section 240.25 of the penal law, in the exercise thereof, by any other person or by any firm,

 corporation or institution, or by the state or any agency or subdivision.”



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                 92. Boomernaturals.com is a sales establishment and public accommodation

 within the definition of N.Y. Civil Rights Law § 40-c(2).

                 93. Defendant is subject to New York Civil Rights Law because it owns and

 operates Boomernaturals.com. Defendant is a person within the meaning of N.Y. Civil Law §

 40-c(2).

                 94. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update

 or remove access barriers to Boomernaturals.com, causing Boomernaturals.com to be completely

 inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

 facilities, goods and services that Defendant makes available to the non-disabled public.

                 95. There are readily available, well-established guidelines on the Internet for

 making websites accessible to the blind and visually-impaired. These guidelines have been

 followed by other business entities in making their website accessible, including but not limited

 to: adding alt-text to graphics and ensuring that all functions can be performed by using a

 keyboard. Incorporating the basic components to make their website accessible would neither

 fundamentally alter the nature of Defendant’s business nor result in an undue burden to

 Defendant.

                 96. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which

 shall violate any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each

 and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

 than five hundred dollars, to be recovered by the person aggrieved thereby . . .”

                 97. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall

 violate any of the provisions of the foregoing section, or subdivision three of section 240.30 or

 section 240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

 shall for each and every violation thereof be liable to a penalty of not less than one hundred
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 dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby in

 any court of competent jurisdiction in the county in which the defendant shall reside . . .”

                 98. Defendant has failed to take any prompt and equitable steps to remedy their

 discriminatory conduct. These violations are ongoing.

                 99. As such, Defendant discriminates, and will continue in the future to

 discriminate against Plaintiff and members of the proposed class on the basis of disability are

 being directly indirectly refused, withheld from, or denied the accommodations, advantages,

 facilities and privileges thereof in § 40 et seq. and/or its implementing regulations.

                 100. Plaintiff is entitled to compensatory damages of five hundred dollars per

 instance, as well as civil penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for

 each and every offense.

                                   FOURTH CAUSE OF ACTION
                           (Violation of New York City Human Rights Law,
                             N.Y.C. Administrative Code § 8-102, et seq.)

                 101. Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 100 of this Complaint as though set forth at length herein.

                 102. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an

 unlawful discriminatory practice for any person, being the owner, lessee, proprietor, manager,

 superintendent, agent or employee of any place or provider of public accommodation, because of

 . . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

 the accommodations, advantages, facilities or privileges thereof.”

                 103. Boomernaturals.com is a sales establishment and public accommodation

 within the definition of N.Y.C. Administrative Code § 8-102(9).




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                 104. Defendant is subject to City Law because it owns and operates

 Boomernaturals.com. Defendant is a person within the meaning of N.Y.C. Administrative Code

 § 8-102(1).

                 105. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing

 to update or remove access barriers to Boomernaturals.com, causing Boomernaturals.com to be

 completely inaccessible to the blind. This inaccessibility denies blind patrons full and equal

 access to the facilities, goods, and services that Defendant makes available to the non-disabled

 public. Specifically, Defendant is required to “make reasonable accommodation to the needs of

 persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

 discriminating on the basis of disability shall make reasonable accommodation to enable a

 person with a disability to . . . enjoy the right or rights in question provided that the disability is

 known or should have been known by the covered entity.” N.Y.C. Administrative Code § 8-

 107(15)(a).

                 106. Defendant’s actions constitute willful intentional discrimination against the

 class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

 and § 8-107(15)(a) in that Defendant has:

                 (a) constructed and maintained a website that is inaccessible to blind class

 members with knowledge of the discrimination; and/or

                 (b) constructed and maintained a website that is sufficiently intuitive and/or

 obvious that is inaccessible to blind class members; and/or

                 (c) failed to take actions to correct these access barriers in the face of substantial

 harm and discrimination to blind class members.

                 107. Defendant has failed to take any prompt and equitable steps to remedy their

 discriminatory conduct. These violations are ongoing.
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                108. As such, Defendant discriminates, and will continue in the future to

 discriminate against Plaintiff and members of the proposed class and subclass on the basis of

 disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

 accommodations and/or opportunities of Boomernaturals.com under N.Y.C. Administrative

 Code § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant

 from continuing to engage in these unlawful practices, Plaintiff and members of the class will

 continue to suffer irreparable harm.

                109. The actions of Defendant were and are in violation of City law and therefore

 Plaintiff invokes his right to injunctive relief to remedy the discrimination.

                110. Plaintiff is also entitled to compensatory damages, as well as civil penalties

 and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

                111. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

                112. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the

 remedies, procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment

 as set forth below.

                                   FIFTH CAUSE OF ACTION
                                       (Declaratory Relief)

                113. Plaintiff repeats, realleges and incorporates by reference the allegations

 contained in paragraphs 1 through 112 of this Complaint as though set forth at length herein.

                114. An actual controversy has arisen and now exists between the parties in that

 Plaintiff contends, and is informed and believes that Defendant denies, that Boomernaturals.com

 contains access barriers denying blind customers the full and equal access to the goods, services

 and facilities of Boomernaturals.com, which Boomer owns, operates and/or controls, fails to

 comply with applicable laws including, but not limited to, Title III of the American with

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 Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

 Administrative Code § 8-107, et seq. prohibiting discrimination against the blind.

                115. A judicial declaration is necessary and appropriate at this time in order that

 each of the parties may know their respective rights and duties and act accordingly.




                                     PRAYER FOR RELIEF

                WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and

 the class and against the Defendants as follows:

    a)   A preliminary and permanent injunction to prohibit Defendant from violating the

         Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et

         seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

    b)   A preliminary and permanent injunction requiring Defendant to take all the steps

         necessary to make its website, Boomernaturals.com, into full compliance with the

         requirements set forth in the ADA, and its implementing regulations, so that

         Boomernaturals.com is readily accessible to and usable by blind individuals;

    c)   A declaration that Defendant owns, maintains and/or operates its website,

         Boomernaturals.com, in a manner which discriminates against the blind and which fails

         to provide access for persons with disabilities as required by Americans with Disabilities

         Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

         Administrative Code § 8-107, et seq., and the laws of New York;
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    d)   An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

         (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class Counsel;

    e)   An order directing Defendants to continually update and maintain its website to ensure

         that it remains fully accessible to and usable by the visually-impaired;

    f)   Compensatory damages in an amount to be determined by proof, including all applicable

         statutory damages and fines, to Plaintiff and the proposed class for violations of their civil

         rights under New York State Human Rights Law and City Law;

    g)   Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and

         federal law;

    h)   For pre- and post-judgment interest to the extent permitted by law; and

    i)   For such other and further relief which this court deems just and proper.

 Dated: Scarsdale, New York
        June 1, 2020
                                                  SHAKED LAW GROUP, P.C.
                                                  Attorneys for Plaintiff

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